       Case: 1:24-cv-01606-BMB Doc #: 8 Filed: 09/25/24 1 of 2. PageID #: 399




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO

Fannie Mae                                         )
                                                   )
                                                   )       Case No. 1:24-cv-01606-BMB
        v.                                         )
Hatz One, LLC, et al.                              )       Corporate Disclosure Statement
                                                   )       in a Civil Case
                                                   )

        Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 3.13(b):
Any nongovernmental corporate party or any nongovernmental corporation that seeks to
intervene in a case must file a corporate disclosure statement identifying the following: (a) Any
parent, subsidiary, or affiliate corporation; (b) Any publicly held corporation that owns 10% or
more of the party’s stock; and (c) Any publicly held corporation or its affiliate that has a
substantial financial interest in the outcome of the case by reason of insurance, a franchise
agreement or indemnity agreement. A corporation is an affiliate for purposes of this rule if it
controls, is under the control of, or is under common control with a publicly owned corporation.
A party must file the statement upon the filing of a complaint, answer, motion, response, or other
pleading in this Court, whichever occurs first. The obligation to report any changes in the
information originally disclosed continues throughout the pendency of the case.

        In compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:
        Fannie Mae
                                                                                                                 .

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporation?
        _____ Yes            X No.
                          _____

        If the answer is Yes, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:




2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome? _____ Yes            X No.
                                   _____

        If the answer is Yes, list the identity of such corporation and the nature of the financial interest:
       Case: 1:24-cv-01606-BMB Doc #: 8 Filed: 09/25/24 2 of 2. PageID #: 400




3.      Identify the citizenship of every individual or entity whose citizenship is attributed to the party or
        intervenor on whose behalf this Corporate Disclosure Statement is being filed:
         None. Fannie Mae is a citizen of the District of Columbia pursuant to 12 U.S.C. § 1717(a)(2)(B).




                                                                  September 25, 2024
          /s/ Justin W. Ristau
        (Signature of Counsel)                                   (Date)


Last Revised: 12/1/22
